Case 1:21-cv-00377-MAC-ZJH Document 4 Filed 11/02/21 Page 1 of 1 PageID #: 17




UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


ANTHONY GRAHAM,                                  §
                                                 §
                Plaintiff,                       §
                                                 §
versus                                           §   CIVIL ACTION NO. 1:21-CV-377
                                                 §
WARDEN DOBBS, et al.,                            §
                                                 §
                Defendants.                      §

                MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                   JUDGE’S REPORT AND RECOMMENDATION

         Plaintiff Anthony Graham, an inmate confined at the Federal Correctional Complex in

Beaumont, Texas, proceeding pro se, brought this lawsuit.

         The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The Magistrate Judge recommends dismissing this action without prejudice.

         The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such referral, along with the record, pleadings and all available

evidence. No objections to the Report and Recommendation of United States Magistrate Judge

were filed by the parties.

                                             ORDER

         Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are

correct, and the report of the Magistrate Judge is ADOPTED. A final judgment will be entered

in this case in accordance with the Magistrate Judge’s recommendation.

         SIGNED at Beaumont, Texas, this 2nd day of November, 2021.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
